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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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11    NIKE, INC.,                           Case No. No. 5:21-cv-01201-JWH-SP
12                  Plaintiff,
13          v.                              ORDER GRANTING JUDGMENT
                                            AND PERMANENT INJUNCTION AS
14    CUSTOMS BY ILENE, INC., et al.,       TO DEFENDANT DRIPZ, INC.
15                  Defendants.
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                      CONSENT JUDGMENT AND PERMANENT INJUNCTION
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Case 5:21-cv-01201-JWH-SP Document 89 Filed 04/28/23 Page 5 of 5 Page ID #:805
